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                                                                   April 26, 2020

BY ECF

The Honorable Vernon S. Broderick
United States District Judge
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007

                    Re: United States v. Ng Lap Seng, 15-cr-706-3 (VSB)

Dear Judge Broderick:

       We write to update the Court regarding the administrative exhaustion issue that has been
argued by the parties.

       Section 3582(c)(1)(A)’s 30-day clock for exhaustion started on March 27, 2020, when
Defendant Ng Lap Seng’s § 3583(c)(1)(A) petition was faxed to the warden of his facility. See 18
U.S.C. § 3582(c)(1)(A) (authorizing a court to grant compassionate release after “the lapse of 30
days from the receipt of [a § 3583(c)(1)(A)] request by the warden of the defendant’s facility”).
The 30-day clock has now expired, rendering the exhaustion issue moot.

       Thank you again for your time and consideration.
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                                       Respectfully submitted,



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